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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
CAMDEN DIVISION

TARA KING, ED.D., individually and on
behalf of her patients, RONALD
NEWMAN, PH.D., individually and on
behalf of his patients, NATIONAL
ASSOCIATION FOR RESEARCH AND
THERAPY OF HOMOSEXUALITY
(NARTH), AMERICAN ASSOCIATION
OF CHRISTIAN COUNSELORS
(AACC),

Plaintiffs,
Vv. Case No.

CHRISTOPHER J. CHRISTIE, Governor
of the State of New Jersey, in his official
capacity, ERIC T. KANEFSKY, Director
of the New Jersey Department of Law and
Public Safety: Division of Consumer Affairs,
in his official capacity, MILAGROS
COLLAZO, Executive Director of the New
Jersey Board of Marriage and Family
Therapy Examiners, in her official capacity,
J. MICHAEL WALKER, Executive
Director of the New Jersey Board of
Psychological Examiners, in his official
capacity; PAUL JORDAN, President of the
New Jersey State Board of Medical
Examiners, in his official capacity,

Defendants.

DECLARATION OF DR. CHRISTOPHER ROSIK
I, Dr. Christopher Rosik, hereby declare as follows:
1. I am over the age of 18 and am submitting this Declaration as expert testimony on behalf

of NARTH members and the NARTH Board of Directors. The statements in this Declaration are

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true and correct and if called upon to testify to them I would and could do so competently. My
curriculum vitae is attached as Exhibit A.

2. I am submitting this Declaration in support of Plaintiffs’ Motion for a Temporary
Restraining Order and Preliminary Injunction.

The Objectivity of the APA Task Force Report on SOCE is Demonstrably Suspect;
Therefore the Report’s Representation of the Relevant Literature Concerning Efficacy of
and Harm from SOCE is neither Complete nor Definitive.

Bias in Task Force Selection

3. Although many qualified conservative psychologists were nominated to serve on the task
force, all of them were rejected. This fact was noted in a book co-edited by a past-president of
the APA (Yarhouse, 2009). The director of the APA’s Lesbian, Gay and Bisexual Concerns
Office, Clinton Anderson, offered the following defense: “We cannot take into account what are
fundamentally negative religious perceptions of homosexuality—they don’t fit into our world
view” (Carey, 2007). It appears that the APA operated with a litmus test when considering task
force membership—the only views of homosexuality that were tolerated are those that uniformly
endorsed same-sex behavior as a moral good. Thus from the outset of the task force, it was
predetermined that conservative or religious viewpoints would only be acceptable when they fit
within their pre-existing worldview. One example of this is the Report’s failure to recommend
any religious resources that adopt a traditional or conservative approach to addressing conflicts

between religious beliefs and sexual orientation. This bias can hardly be said to respect religious

diversity and had predictable consequences for how the task force addressed its work.

Bias Regarding Statements of SOCE Harm and Efficacy

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4, This bias was particularly evident in the task force’s highly uneven implementation of
standards of scientific rigor in the utilization and evaluation of published findings pertaining to
SOCE (Jones, et al., 2010). Of particular note is the contrast between the exceptionally rigorous
methodological standards applied to SOCE outcomes and the considerably less rigorous and
uneven standards applied to the question of harm. With regard to SOCE outcomes, the Report
dismisses most of the relevant research because of methodological limitations which are outlined
in great detail (APA, 2009, pp. 26-34). Studies pertaining to SOCE outcomes that fall short of
the task force’s rigorous standards are deemed unworthy of examination and dismissed as
containing no evidence of value to the questions at hand. Meanwhile, the Report appears to
adopt very different evidentiary standards for making statements about harms attributed to SOCE.
The standard as regards efficacy is to rule out substandard studies as irrelevant; however, no such
standards are employed in considering studies purporting to document harm. In addition, the
Report uses the absence of evidence to argue that SOCE is unlikely to produce change and thus
strongly questions the validity of SOCE, but shows no parallel reticence to endorse affirmative
therapy despite acknowledging that, “...it has not been evaluated for safety and efficacy” (APA,
2009, p. 91).

5. The six studies deemed by the task force to be sufficiently methodologically sound to
merit the focus of the Report targeted samples that would bear little resemblance to those seeking
SOCE today and used long outdated methods that no current practitioner of SOCE employs.
This brings into question the Report’s willingness to move beyond scientific agnosticism (i.e.,
that we do not know the prevalence of success or failure in SOCE) to argue affirmatively that
sexual orientation change is uncommon or unlikely. The Report seems to affirm two

incompatible assertions: a) we do not have credible evidence on which to judge the likelihood of

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sexual orientation change and b) we know with scientific certainty that sexual orientation change
is unlikely. However, the absence of conclusive evidence of effectiveness is not logically
equivalent to positive evidence of ineffectiveness (Altman & Bland, 1995).

6. There are places in the Report that do seem to acknowledge that, given their
methodological standards, we really cannot know anything scientifically definitive about the
efficacy of or harms attributable to SOCE. For example, the Report states, “Thus, we cannot
conclude how likely it is that harm will occur from SOCE” (APA, 2009, p. 42). Similarly the
Report observes, “Given the limited amount of methodologically sound research, we cannot
draw a conclusion regarding whether recent forms of SOCE are or are not effective” (APA,
p. 43). Similarly, “[T]here are no scientifically rigorous studies of recent SOCE that would
enable us to make a definitive statement about whether recent SOCE is safe or harmful
and for whom” (APA, p. 83; cf. p. 67, 120).

7. These expressions of agnosticism are justified by the task force but then are not adhered
to in the Report’s conclusions. Instead, the Report argues at length that only the most rigorous
methodological designs can clearly establish a causal relationship between SOCE methods and
subsequent change, but the Report does not hesitate to make such causal attributions consistently
regarding harm while repudiating any such claims for efficacy. From this highly uneven
application of literature review methodology, the Report goes on to assert confidently that
success of SOCE is unlikely and that SOCE has the potential to be harmful. It is also telling that
in subsequent references to the Report the potential for harm has morphed into “the potential to
cause harm to many clients” (APA, 2012, p. 14, emphasis added). The harms from SOCE appear
to grow greater the farther away one gets from the original Report.

Bias in Favor of Preferred Outcomes

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8. That the task force utilized a far lower methodological standard in assessing harm and
other aspects of the science than it did in assessing SOCE outcomes can be demonstrated by a
few examples. The Report references the many varieties of methodological problems deemed
sufficient to render useless most of the SOCE research. Yet the Report is ready to overlook such
limitations when the literature addresses preferred conclusions. First, consider the work of
Hooker (1957), which is routinely touted as groundbreaking in the field and affirmed in the
Report and other APA publications as evidence indicating no differences in the mental health of
heterosexual and gay men. However, this research contains such serious methodological flaws
that it is inconceivable that an even-handed methodological evaluation by the task force would
have not have mentioned these problems. Among the many methodological problems noted by
Schumm (2012), the control group was told the purpose of the study in advance, and clinical
experts were not blind to the objectives of the study. There also was an imperfect matching of
participants, low scale reliability, the use of a small and recruited control group rather than
existent national standardized norms, the post hoc removal of tests that actually displayed
differences, and the screening out of men from the study if they appeared to have pre-existing
psychological troubles.

9. As Hooker (1993) wrote many years later, “I knew the men for whom the ratings were
made, and I was certain as a clinician that they were relatively free of psychopathology.” Despite
these serious methodological problems, which would never be tolerated by the task force were
this SOCE-supportive research, APA experts such as Gregory Herek described Hooker’s study
as part of the “overwhelming empirical evidence” that there is no association of sexual
orientation with psychopathology (Herek, 1991, p. 143; see also Herek, 2010). The point here is

not to argue for such an association, but to underscore that a consistent application of the

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methodological standards affirmed in the Report should have led to the dismissal of the Hooker
study as supportive of the no differences hypothesis.

Bias Regarding Treatment of the Primary Study on Harm

10. Perhaps the most egregious example of the task force’s methodological double standard
is evidenced in their heavy reliance on the Shildo and Schroeder (2002) and Schroeder and
Shidlo (2003) research in conclusions about harm from SOCE. Several methodological problems
cited to dismiss the SOCE outcome literature complicate these studies: These studies were
conducted in association with the National Gay and Lesbian Task Force, with the explicit
mandate to find clients who had been harmed and document ethical violations by practitioners.
This was abundantly clear in the study’s original title: “Homophobic therapies: Documenting the
damage” (see exhibit A).

e Over 50% of the 202 sample participants were recruited through the GLB media, hardly a
random or generalizable sampling procedure.

e Only 20 participants in this study were women, creating significant skew toward gay
male accounts.

e Twenty-five percent of study participants had already attempted suicide before starting
therapy, making very dubious the claim that suicide attempts were actually caused by the
therapy.

e Finally, these subjects reported their experiences came from a mix of licensed therapists,
nonlicensed peer counselors, and religious counselors, leaving open the reasonable
suspicion that negative therapeutic experiences might differ significantly by level of

training.

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11. The Shildo and Schroeder (2002) and Schroeder and Shidlo (2003) results thus are based
on a non-representative sample likely to be heavily biased in the direction of retrospectively
reporting negative therapy experiences, some of which occurred decades ago. The task force
appears to have ignored the warnings from the study’s authors: “The data presented in this study
do not provide information on the incidence and prevalence of failure, success, harm, help, or
ethical violations in conversion therapy” (Shildo & Schroeder, 2002, p. 250, emphases in the
original). It is difficult to understand how this research can be cited without qualification or
context as demonstrating likely harm from SOCE conducted by licensed medical and mental
health professionals. Again, what we can say with confidence is that some SOCE clients report
harm and others report benefit and we do not know from the literature how often either outcome
occurs. While harm may occur with any form of psychological care, the “evidence” provided in
this study is essentially nothing more than unverifiable “hearsay.” This is hardly a legitimate
ground for legal prohibition.

Bias Regarding the Lack of Context Concerning Harm in Psychotherapy

12. The APA and other professional bodies that utilize this Report are negligent if not
fraudulent in giving a technically true warning that SOCE may potentially cause harm but failing
to do so within the broader context that this warning certainly applies to all forms of
psychological care for any and all forms of presenting problems or concerns. For example,
regardless of theoretical orientation or treatment modality, some psychological or interpersonal
deterioration or other negative consequences appear to be unavoidable for a small percentage of
clients, especially those who begin therapy with a severe “initial level of disturbance” (Lambert

& Ogles, 2004, p. 117). Clients who experience significant negative counter-transference or

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whose clinicians may lack empathy or underestimate the severity of their problem may also be at
greater risk for deterioration (Mohr, 1995).

13. Furthermore, it must be remembered that, on average, persons with same-sex attraction
already experience and/or are at greater risk for experiencing a number of medical and mental
health difficulties prior to participating in any SOCE (Whitehead & Whitehead, 2010). This
makes it extremely difficult to disentangle psychological distress directly attributable to SOCE
from that which preceded commencement of SOCE. And since SOCE commonly involves
helping clients become more aware of the stress and distress in their lives in order to manage or
alleviate them, as do many approaches to mental health care, persons who leave therapy
prematurely may have an increased awareness or experience of their (pre-) existing stress and
distress. Thus, they may “feel worse” as a consequence of not having allowed therapy sufficient
time to help resolve the difficulties. Anecdotal personal stories of harm certainly cannot
scientifically establish the proportion of distress derived directly from SOCE, and high quality
research that might be able to distinguish such causation simply does not exist.

Bias in the Omission of Medical Outcomes Associated with Same-Sex Behavior

14. It should also be mentioned in the discussions of harm and benefit from SOCE that the
Report makes no mention of the well-documented medical outcomes associated with
homosexual and bisexual behavior. For example men having sex with men (MSM) comprise
48% of all individuals with HIV/AIDS in the U.S., but make up only an estimated 2-4% of men
in the population (Newcomb & Mustanski, 2011). This is occurring in a context where MSM are
reporting higher rates of sexual risk behaviors in recent years in spite of increasing cultural
acceptance. Similarly, the prevalence of suicidal ideation and attempts for bisexual and lesbian

girls has steadily increased since the mid-1990s (Savin-Williams & Ream, 2007). Certainly

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whatever unclear risk of harm that might occur to an individual SOCE minor client must be
weighed against the clear medical risks that arise from enacting homosexual behavior,
particularly salient among adolescents. Yet efforts to change or otherwise discourage even
homosexual behavior among minors, if construed by the client later as SOCE, could jeopardize
the license of the therapist under A3371.

Bias Regarding Research on the Origins of Same-Sex Attractions

15. Another example of the task force’s uneven application of methodological standards
concerns the Report’s conclusion that, “Studies failed to support theories that regarded family
dynamics, gender identity, or trauma as factors in the development of sexual orientation” (APA,
2009, p. 23). Of the ten studies cited in support of this conclusion, three were not readily
accessible on databases and one was a review article, which is an interpretation and not an
empirical study. An examination of the remaining six studies (Bell, Weinberg, & Hammersmith,
1981; Freund & Blanchard, 1983; McCord, McCord, & Thurber, 1962; Peters & Cantrell, 1991;
Siegelman, 1981; Townes, Ferguson, & Gillem, 1976) revealed many of the same
methodological flaws cited in the task force critique of SOCE (Rosik, 2012). For example, the
Freud and Blanchard study is cited as evidence against any role of family dynamics or trauma in
the origin of same-sex attractions but contains many serious methodological problems, including
unclear scale reliability, participants being known to the researchers as patients, the use of a
convenience sample, and a narrow and therefore non-generalizable sample composed of
psychiatric patients. All of these problems were considered to be fatal flaws in the task force’s
appraisal of the SOCE outcome literature for documenting evidence of change.

16. Given that many of the methodological limitations used by the task force to assail the

SOCE research exist in the literature exploring the possible causal influences for sexual

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orientation, questions have to be raised as to why the task force members chose to definitively
dismiss this literature as “failing to support” developmental theories. It appears, based on the
same criteria they used to dismiss SOCE, that their own conclusions have little support in the
literature. A fairer rendering of the literature they reference in this regard would appear to be
that this research is so methodologically flawed that one cannot make any conclusive statements
concerning the applicability of developmental factors in the origin of homosexuality. Thus by the
task force’s own methodological standards, the literature they cite fails to support or rule out a
role for these potential developmental influences in the genesis of sexual orientation.

17. If such ambiguity exists in the SOCE literature on methodological grounds, then by the
task force’s own criteria, this ambiguity also is present in the referenced etiological research. It
appears that the task force has been inconsistent in the application of their methodological
critique to the broader literature on homosexuality and they have been willing to offer more
definitive conclusions about theories they wish to dismiss than is warranted by their own
standards. In a word, there is again the appearance of substantial bias.

18. Contra to the repeated claims of the Report that it is an established “scientific fact” that
“no empirical studies or peer-reviewed research supports theories attributing same-sex sexual
orientation to family dysfunction or trauma” (APA, 2009, p. 86), there currently exists recent,
high quality, and large-scale studies that provide empirical evidence consistent with the theory
that familial or traumatic factors potentially contribute to the development of sexual orientation
(Bearman & Bruckner, 2002; Francis, 2008, Frisch & Hviid, 2006; Roberts, Glymour, & Koenen,
2013; Wilson & Widom, 2009). Despite their significant relevance for scientific discussions on
the etiology of same-sex attractions, these studies were ignored by the task force. It is perfectly

reasonable to believe that not offering professional SOCE to some minors with unwanted same-

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sex attractions and behaviors who seek such care may actually harm them by not helping them
deal with what is one of the possible consequences of sexual molestation and abuse.
Bias Regarding Use of the “Grey Literature”
19. The uneven methodological implementation of standards is again seen in the Report’s
treatment of the “grey literature,” which is dismissed in favor of only peer-reviewed scientific
journal articles in the assessment of SOCE. No developed rationale is offered for this choice.
Consequently, a highly scholarly study on SOCE supportive of change for some individuals is
dismissed in a footnote (Jones & Yarhouse, 20007; the footnote is found on page 90 of the
Report). Yet the task force appears to have no compunction in citing the grey literature on other
subjects, such as the demographics relating to sexual orientation (Laumann, Gagnon, Michael, &
Michaels, 1994) or the issue of psychological and familial factors in the development of sexual
orientation (Bell, et al., 1981), even though the latter book utilizes a sample of questionable
representativeness.
Bias in the APA’s Broader Treatment of Sexual Orientation
20. A sixth example of differential application of methodological critique highlights the
systemic nature of this problem within the broader literature pertaining to homosexuality. A
recent analysis of the 59 research studies cited in the APA’s brief supporting same-sex parenting
(Marks, 2012) in essence applied methodological standards of similar rigor to those the task
force applied to the SOCE literature. The Marks study concluded that,
“,..some same-sex parenting researchers seem to have contended for an
‘exceptionally clear’ verdict of ‘no difference’ between same-sex and
heterosexual parents since 1992. However, a closer examination leads to the
conclusion that strong, generalized assertions, including those made by the APA

Brief, were not empirically warranted. As noted by Shiller (2007) in American
Psychologist, ‘the line between science and advocacy appears blurred’” (p. 748).

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21. | While Marks’ analysis does not focus on SOCE, it is relevant in that it underscores that
APA’s worldview regarding homosexuality appears to result in public policy conclusions
(whether right or wrong) that go beyond what the data can reasonably support. This is precisely
what appears to be occurring in linking the APA task force Report with the banning of
professional SOCE as represented in A3371.

Bias Regarding the Use of the Ryan, et al. Study in A3371

22. A final example of this problem of differential rigor in methodological critique can in fact
be found in A337] itself. The bill cites a study by Ryan, Huebner, Diaz, and Sanchez (2009) in
the respected journal Pediatrics, presumably as its best support for claims that SOCE with
minors results in serious harm. It is evident that this study also contains many of the
methodological limitations cited by the task force to invalidate the SOCE literature, including
participants not being blind to the study purposes, apparently biases in the participant recruitment
process, and the reliance on self-report measures that had participants recalling experiences from
the distant past.

23. Generalization difficulties are also created by the sample composition of Ryan, et al.
(2009). The sample is limited to young adult non-Latino and Latino LGB persons. The APA
Task Force (2009) noted that research on SOCE has “...limited applicability to non-Whites,
youth, or women” (p. 33) and, “No investigations are of children and adolescents exclusively,
although adolescents are included in a very few samples” (p. 33). This means that even had Ryan
and colleagues assessed for SOCE backgrounds among participants, it would be inappropriate to
generalize their findings in a manner that would cast aspersions on all SOCE experiences of

minors, which again is precisely what A3371 is determined to do. In addition, Ryan, et al. (2009)

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acknowledge that “...given the cross-sectional nature of this study, we caution against
making cause-effect interpretations from these findings” (p. 351).
24. Presumably, this caution alone should have been enough to prevent the authors of A3371
from employing the Ryan study. Even had the study findings been applicable to SOCE
consumers, they would have not been able to indicate whether SOCE caused the negative health
outcomes or if youth with negative health markers disproportionately sought SOCE. Based on
this analysis, there appears to be no scientific grounds for referencing the Ryan study as
justification for a ban on SOCE to minors. The study’s findings, while likely reflecting some
underlying connection between family rejection and mental health outcomes, are not reliable and
have no scientific justification for being generalized to minors who engage in SOCE with
licensed therapists. It is troubling that A3371 utilizes Ryan, et al.’s work when the internal and
external validity limitations of the study make such claims profoundly misguided, as underscored
by the APA task force.
25. The task force concludes that, “None of the recent research (1999-2007) meets
methodological standards that permit conclusions regarding efficacy or safety” (APA, 2009, p. 2).
Taking this statement at face value, which is arguable as noted above, nevertheless only serves to
underscore the enduring validity of comments from Zucker (2003), long-time editor of the
Archives of Sexual Behavior, who observed:

From a scientific standpoint, however, the empirical database remains rather

primitive and any decisive claim about benefits or harms really must be taken

with a grain of salt and without such data it is difficult to understand how

professional societies can issue any clear statement that is not contaminated

by rhetorical fervor. Sexual science should encourage the establishment of a

methodologically sound database from which more reasoned and nuanced
conclusions might be drawn (p. 400).

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26. A scientific response as opposed to a response based largely on advocacy would pursue
research that will allow for more nuanced conclusions about SOCE, not create new law that sets
the precedent of placing a blanket prohibition on entire form of psychological care.

Non-heterosexual Identities, Attractions, and Behaviors Are Subject to Change for
Many People and Particularly among Youth.

27. Central to the notion that some individuals can and do report change on a continuum of
change in their sexual orientation is the issue of immutability. Were all same-sex attractions and
behaviors fixed and not subject to change, then sexual orientation would indeed be an enduring
trait and SOCE would be a futile exercise, including among minors. However, there is solid data
to suggest that same-sex attractions and behaviors are not fixed and are subject to varying
degrees of change. As summarized by Ott et al., (2013), “Reported sexual identity, attraction,
and behavior have been shown to change substantially across adolescence and young
adulthood” (p. 466). This viewpoint has long been maintained within scientific circles. Klein,
Sepekoff, and Wolf (1985) decades earlier affirmed “...the importance of viewing sexual
orientation as a process which often changes over time” and noted “...the simplicity and
inadequacy of the labels heterosexual, bisexual, and homosexual in describing a person’s sexual
orientation” (p. 43).

Non-Heterosexuality Not a Fixed Trait

28. The definitive study by Laumann, Gagnon et al. (1994), cited by the task force, involved
several thousand American adults between the ages of 18 and 60. This report contains the most
careful and extensive database ever obtained on the childhood experiences of matched
homosexual and heterosexual populations. One of the major findings of the Laumann, Gagnon

et al. study, which even surprised the authors, was that homosexuality as a fixed trait scarcely

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seemed to exist (Laumann, Michael, and Gagnon, 1994). Sexual identity is not the least fixed at
adolescence but continues to change over the course of life. For example, the authors report:

...this implies that almost 4 percent of the men have sex with another male before

turning eighteen but not after. These men, who report same-gender sex only

before they turned eighteen, not afterward, constitute 42 percent of the total

number of men who report ever having a same-gender experience. (Laumann,

Gagnon, et al., p. 296).
29, They also note that their findings comport well with other large-scale studies.

[O]verall we find our results remarkably similar to those from other surveys of

sexual behavior that have been conducted on national populations using

probability sample methods. In particular two very large-scale surveys...one in

France [20,055 adults] and one in Britian [18,876 persons]. (p. 297).
30. This data seem to suggest that heterosexuality is normative even for those who at one
point in the past reported a non-heterosexual sexual orientation. Sexual orientation stability
appears to be greatest among those who identify as heterosexual (Savin-Williams, Joyner, &
Rieger, 2012): “This limited empirical evidence based on four large-scale or nationally
representative populations indicates that self-reports of sexual orientation are stable among
heterosexual men and women, but less so among non-heterosexual individuals” (p. 104).
Heterosexuality likely exerts a constant, normative pull throughout the life cycle upon everyone.
While admittedly Laumann attributes this reality to American society, the same findings have
been found in other societies where it has been studied. A simpler explanation might look to
human physiology, including the physiology of the nervous system, which is overwhelmingly
sexually dimorphic, i.e., heterosexual. Therefore it is not surprising that the brain would self-
organize behavior in large measure in harmony with its own physiological ecology, even if not in
a completely deterministic fashion.

31. | Whether measured by action, feeling, or identity, Laumann, Gagnon, et al.’s (1994) data

concerning the prevalence of homosexuality before age 18 and after age 18 reveal that its

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instability over the course of life occurred in one direction toward heterosexuality and reflected
significant decline in non-heterosexual identities. This evidence of spontaneous change with the
progression of time among both males and females is hardly a picture of sexual orientation stasis
in adolescence that A3371 assumes. To be fair, we cannot tell from this data how many, if any,
of those reporting change pursued SOCE. However, the data do provide a developmental
context for the plausibility that SOCE could aide some individuals (including minors) in
modifying same-sex attractions and behavior. It appears that the most common natural course for
a young person who develops a non-heterosexual sexual identity is for it to spontaneously
disappear unless that process is discouraged or interfered with by extraneous factors.

32. Conceivably, non-SOCE therapies that obstruct this process (e.g., “gay-affirmative”)
could be interfering with normal sexual development.

Change Not Limited to Sexual Behavior

33. | A New Zealand study by Dickson, Paul, and Herbison (2003) further questions the claim
that change might affect same-sex behavior but not same-sex attraction. This study found large
and dramatic drops in homosexual attraction that occurred spontaneously for both sexes, a
finding underscored even more by its occurrence in a country with a relatively accepting attitude
toward homosexuality. Interestingly, the results also indicated a slight but statistically
significant net movement toward homosexuality and away from heterosexuality between the
ages of 21 and 26, which suggests the influence of environment on sexual orientation,
particularly for women. Specifically, it appears likely that the content of higher education in a
politically liberal environment contributed to the upswing in homosexuality in this educated
sample of twenty-somethings. This notion is further supported by the fact that this increase in

homosexuality follows a much larger decrease that would have had to taken place in the years

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prior to 21 in order to account for the above findings. Additionally, once the educational effect
wears off, the expected decline in homosexual identification resumed. The authors conclude that
their findings are consistent with a significant (but by no means exclusive) role for the social
environment in the development and expression of sexual orientation.

Change Particularly Evident for Youth and Bisexuals

34. _ A large longitudinal study by Savin-Williams and Ream (2007) is also noteworthy as it
focused on the stability of sexual orientation components for adolescents and young adults.
Three waves of assessment began when participants were on average just under 16 years of age
and concluded when participants were nearly 22 years old. The authors observed a similar
decline in non-heterosexuality over the time of the study: “All attraction categories other than
opposite-sex were associated with a lower likelihood of stability over time” (p. 389). For
example, 16 year olds who reported exclusive same-sex attractions or a bisexual pattern of
attractions are approximately 25 times more likely to change toward heterosexuality at the age of
17 than those with exclusively opposite sex attractions are likely to move towards bisexual or
exclusively same-sex (Whitehead & Whitehead, 2010). Ninety-eight percent of 16 to 17 year
olds moved from homosexuality or bisexuality towards heterosexuality over the course of the
study.

35. To be fair, such changes were more pronounced among bisexuals and women. But keep
in mind that A3371 does not discriminate in its prohibition between SOCE provided for
exclusively same-sex attracted minors and those whose unwanted same-sex attractions are part of
a bisexual attraction pattern. Nor does the bill’s ban distinguish between boys and girls. Savin-
Williams and Ream observed that, “The instability of same-sex attraction and behavior (plus

sexual identity in previous investigations) presents a dilemma for sex researchers who portray

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non-heterosexuality as a stable trait of individuals” (p. 393). They acknowledged that
developmental processes are involved even as they focused mostly on problems with
measurement. The reality of such spontaneous changes in sexual orientation among
teenagers is not in accord with a bill whose defenders contend sexual orientation is a
universally enduring trait. In fact, these data suggest it is irresponsible to legally prevent
access to SOCE and only allow affirmation of same-sex feelings in adolescence on the
grounds that the feelings are intrinsic, unchangeable, and therefore the individual can only
be homosexual.

36. A3371’s intent for a blanket prohibition on SOCE for all minors with unwanted
Same-sex attractions and behaviors is akin to doing heart surgery with a chainsaw in its
inability to address the complex realities of sexual orientation. For example, a study by
Herek et al. (2010) reported that “only” 7% of gay men reported experiencing a small amount of
choice about their sexual orientation and slightly more than 5% reported having a fair amount or
great deal of choice. Lesbian woman reported rates of choice at 15% and 16%, respectively. It is
worth noting that these statistics, which are not inconsequentially small, do suggest that sexual
orientation is not immutable for all people and again suggest the plausibility that modification of
same-sex attractions and behaviors could occur in SOCE for some individuals. Even more
important, however, are the findings for bisexuals: 40% of bisexual males and 44% of bisexual
females reported having a fair amount or great deal of choice in the development of their
sexual orientation. This is in addition to 22% of male bisexuals and 15% of female bisexuals
who reported having at least a small amount of choice about their sexual orientation. Other
studies confirm the particular instability of a bisexual sexual orientation (Savin-Williams, Joyner,

& Rieger, 2012). These numbers create a significantly different impression about the enduring

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nature sexual orientation than the picture often painted by proponents of A3371. At a minimum,
such data suggest that proponents of A3371 would have done better to exclude bisexuality from
the scope of this bill. If such a large minority of individuals (albeit mostly bisexuals) experience
a self-determinative choice as being involved in the development of their sexual orientation, why
would it not be conceivable that SOCE might augment this process for some individuals with
unwanted same-sex attractions and behaviors?

Identification of the Mostly Heterosexual Orientation

37. Further evidence that A3371 ignores distinctions in sexual orientation relevant to SOCE
is the recent identification of the “mostly heterosexual” orientation. This orientation has been
reported by 2-3% men and 10-16% of women over time, and constituted a sexual orientation
larger than all other non-heterosexual identities combined (Savin-Williams, Joyner, & Rieger,
2012). Moreover, it appears to be a highly unstable sexual orientation in comparison to other
non-heterosxual identities. The reality of the “mostly heterosexual” orientation category has
been additionally supported by recent physiological evidence in a sample of men (Savin-
Williams, Rieger, & Rosenthal, 2013). This apparently viable and unique group of non-
heterosexuals raises serious questions for the scope of A3371; namely, are “mostly heterosexual”
minors exempt from the law’s ban on SOCE? The fact that A3371 appears to have been
outdated even before it was signed into law highlights the folly of politicians attempting to
adjudicate the complex scientific matters surrounding SOCE at the behest of activists
within and outside professional organizations.

38. All of the above evidence of fluidity and change in sexual orientation strongly
suggests that change in the dimensions of sexual orientation does take place for some

people (and likely more so for youth) and that this change is best conceptualized as

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occurring on a continuum and not as an all-or-nothing experience. The experience of
NARTH clinicians is that while some clients report complete change and some indicate no
change, many clients report achieving sustained, satisfying, and meaningful shifts in the
direction and intensity of their sexual attractions, fantasy, and arousal as well as behavior and
sexual orientation identity. Descriptions of licensed SOCE therapists as trying to “cure” their
clients of homosexuality are either ignorant or willfully slanderous of how these therapists
conceptualize their care (see NARTH, 2010). Professional SOCE practitioners recognize that
change of sexual orientation typically occurs on a continuum of change, and this is consistent
with how change is understood to occur for most if not all other psychological and behavioral
conditions addressed in psychotherapy.

Genetics and Biology are at Best Partial Explanations for Same-Sex Attractions

39. | Moreover, such fluidity and change makes clear that simple causative genetic or
biological explanations are inappropriate. The later development of same-sex attractions and
behaviors is not determined at birth and there is no convincing evidence that biology is decisive
for many if not most individuals. The American Psychiatric Association has observed that,
“,..to date there are no replicated scientific studies supporting any specific biological
etiology for homosexuality” (American Psychiatric Association, 2013). Peplau et al. (1999)
earlier summarized, “To recap, more than 50 years of research has failed to demonstrate
that biological factors are a major influence in the development of women’s sexual
orientation...Contrary to popular belief, scientists have not convincingly demonstrated that
biology determines women’s sexual orientation.”

40. It is important to note in this regard that the APA’s own stance on the biological origin of

homosexuality has softened in recent years. In 1998, the APA appeared to support the theory

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that homosexuality is innate and people were simply “born that way”: "There is considerable
recent evidence to suggest that biology, including genetic or inborn hormonal factors, play a
significant role in a person's sexuality“ (APA, 1998). But in 2008, the APA described the matter
differently:
“There is no consensus among scientists about the exact reasons that an
individual develops a heterosexual, bisexual, gay, or lesbian orientation.
Although much research has examined the possible genetic, hormonal,
developmental, social, and cultural influences on sexual orientation, no
findings have emerged that permit scientists to conclude that sexual
orientation is determined by any particular factor or factors. Many think

that nature and nurture both play complex roles....” (APA, 2008a; emphases
added).

41. Yet the APA has made minimal effort to publicize the change in its official position on
such causation or to correct the accompanying popular misconception — often promoted by the
media — that persons with same-sex attractions are simply “born that way.” It is difficult not to
perceive this as significant professional neglect.

42. The absence of genetic or biological determinism in sexual orientation is underscored and
clarified by large scale studies of identical twins. These studies indicate that if one twin sibling
has a non-heterosexual orientation the other sibling shares this orientation only about 11% of the
time (Bailey, Dunne, & Martin, 2000; Bearman & Brueckner, 2002; Langstrom, Rahman,
Carlstrom, & Lichtenstein, 2010). If factors in common like genetics or conditions in the womb
overwhelmingly caused same-sex attractions, then identical twins would always be identical for
same-sex attraction. These studies instead suggest that the largest influence in the development
of same-sex attractions are environmental factors that effect one twin sibling but not the other,
such as unique events or idiosyncratic personal responses.

43. Causatively, then, sexual orientation is by no means comparable to a characteristic

such as race or biological sex which are thoroughly immutable. Thus, while same-sex

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attractions may not be experienced as chosen, it is reasonable to hold that they can be subject to
conscious choices such as those which might be facilitated in SOCE. Same-sex attractions and
behaviors are not strictly or primarily determined by biology or genetics and are naturalistically
subject to significant change, particularly in youth and early adulthood. This should raise serious
questions about the legitimacy of A3371’s portrayal of same-sex attractions and behaviors as
static traits only to be embraced by those minors who might otherwise pursue SOCE.

Stigma, Discrimination, and SOCE
44. Proponents of A3371 frame a significant degree of their arguments concerning harm and
SOCE on the negative consequences of stigma and discrimination. While these factors certainly
can have deleterious consequences for those with non-heterosexual sexual orientations, this
possibility must be placed within a broader context and balanced by additional considerations.
The Limited Understanding of the Dynamics of Stigma and Discrimination
45. From an overall perspective, the meta-analytic research (which summarizes results over
multiple studies) on the association between perceived discrimination and health outcomes
indicates that the strength of this relationship is significant but small (Pascoe & Richman, 2009).
Furthermore, research into what influences this association has most typically found no
significant role for theoretically linked factors such as social support and identification with
one’s group. For example, data suggest that the impact of “internalized homophobia” for
understanding risk behavior among men who have sex with men (MSM) is now negligible and,
“The current utility of this construct for understanding sexual risk taking of MSM is called into
question” (Newcomb & Mustanski, 2011, p. 189). By contrast, poly drug use by these men
continued to be a strong predictor of risky sexual behavior. Such findings should be sufficient to

indicate that there is a great deal left to be understood about this entire field of study.

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46. Other lines of inquiry suggest that stigma and discrimination alone are far from a
complete explanation for greater psychiatric and health risks among non-hetersexual orientations.
Mays and Cochran (2001) reported that discrimination experiences attenuated but did not
eliminate associations between psychiatric morbidity and sexual orientation. Men with same-sex
attractions and behaviors were found to have a higher risk for suicidal ideation and acute mental
and physical health symptoms than heterosexual men in Holland, despite that country’s highly
tolerant attitude towards homosexuality (Sandfort, Bakker, Schellevis, & Vanwesenbeeck, 2006;
de Graaf, Sandfort, & ten Have, 2006).

47. Research in this area is almost entirely reliant upon self-reports of perceived
discrimination, and the relation of this to objective discrimination is not well understood. Recent
literature also finds that particular emotion/avoidant-based coping mechanisms used by people
reporting SSA almost entirely account for the effects of this perceived discrimination (Whitehead,
2010). For example, differential rates of health problems resulted from sexual orientation-related
differences in coping styles among men, with an emotion-oriented coping style mediating the
differences in mental and physical health between heterosexual and homosexual men (Sandfort,
Bakker, Schellevis, & Vanwersenbreeck, 2009).

Some Health Outcomes Are Likely Based in Anatomy More Than Stigma

48. In addition, some health risks, such as HIV transmission among gay men, may be
influenced by stigma but are ultimately grounded in biological reality. A recent comprehensive
review found an overall 1.4% per-act probably of HIV transmission for anal sex and a 40.4%
per-partner probability (Beyer, et al., 2012). The authors noted, “The 1.4% per-act probability is
roughly 18-times greater than that which has been estimated for vaginal intercourse” (p. 5).

Recent CDC statistics indicate the rate of new HIV diagnoses in the United States among men

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who have sex with men is more than 44 times that of other men (CDC, 2011). Young gay and
bisexual men age 13-29 accounted for 27% of all new HIV infections in 2009 and were the only
group for whom new HIV infections increased between 2006 and 2009 (Prejean et al., 2011).
Sharing such information with prospective SOCE clients is not inherently manipulative but
rather, when balanced with other considerations, constitutes an ethically obligated aspect of
informed consent.

SOCE Not a Proxy for Stigma or Discrimination

49. The lessening of stigma associated with “coming out” need not imply an affirmation of a
gay, lesbian, or bisexual identity or the enactment of same-sex behavior. SOCE practitioners
often encourage the client’s acceptance of his or her unwanted same-sex attractions and the
disclosure of this reality with safe others as a potential aid in the pursuit of change or, in cases
where change does not occur, behavioral management of sexual identity. This typically occurs
when clients desire to live within the boundaries of their conservative religious values and beliefs.
While it is often assumed that conservative religious environments are stigmatizing and harmful
for sexual minorities by definition, this is by no means a universal finding. One study of black
lesbian, gay, and bisexual young adults, 86% of whom were open about their sexual identity,
found that, “Participants who reported lower religious faith scores and lower internalized
homonegativity scores reported the lowest resiliency, while those reporting higher religious faith
scores and higher internalized homonegativity reported the highest resiliency scores” (Walker &
Longmire-Avital, 2012, p. 5).

50. Referral for SOCE therefore cannot be designated as a proxy for harm-inducing family
rejection and stigma, as the proponents of A3371 seem to assume. Only a few studies have

directly examined the link between family rejection and health risk among minors (Saewyc, 2011)

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and the derived findings can be contrary to expected theories, such as the discovery that same-
sex attracted boys who participated in more shared activities with their parents were more likely
to run away from home and use illegal drugs than those who participated in fewer shared
activities (Pearson & Wilkinson, 2013). Even more importantly, no studies have examined
family relationships in the context of SOCE participation (APA, 2009). Thus, A3371 would
unnecessarily and without scientific warrant eliminate the potential role of conservative religious
values for ameliorating the effects of stigma in the context of SOCE. This would prevent clients
from one means of prioritizing their religious values above their same-sex attractions when these
factors are in conflict. The contention that a desire to modify same-sex attractions and behaviors
can only be an expression of self-stigma reflects a serious disregard for and misunderstanding of
conservative religious and moral values (Jones, et al., 2010).
Encouraging Same-Sex Behavior May Result in Risk-Justifying Attitudes
51. Finally, new research is raising the possibility that some widely accepted theories
germane to the discussion of stigma, discrimination, and health outcomes may in fact have gotten
things backwards. A longitudinal study of gay and bisexual men by Heubner, Neilands,
Rebchook, and Degeles (2011) found that,
... In contrast to the causal predictions made by most theories of health behavior,
attitudes and norms did not predict sexual risk behavior over time. Rather, sexual
risk behavior at Time 1 was associated with changes in norms and attitudes at
Time 2. These findings are more consistent with a small, but growing body of
investigations that suggest instead that engaging in health behaviors can also
influence attitudes and beliefs about those behaviors. (p. 114)
52. Thus, safe-sex norms and attitudes did not lead to reduced unprotected anal intercourse;
rather, participants’ engagement in such HIV risk behavior appeared to change how they thought

and felt about the behavior and enhanced their willingness to engage in it. Such findings raise

serious concerns about the impact of A3371, in that a law which only allows for the affirmation

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and ultimate enactment of same-sex attractions may in fact increase HIV risk and negative health
outcomes for some minors who might otherwise have sought SOCE.

53. While stigma and discrimination are real concerns, they are not universal explanations for
greater psychiatric and health risks among sexual minorities, some of which are likely to be
grounded in the biology of certain sexual practices. Moreover, the effects of stigma and
discrimination can be addressed significantly within SOCE for many clients, though this is no
doubt hard to comprehend for those not sharing the religious values of SOCE consumers. There
is no longitudinal research involving consumers of SOCE that link the known effects of stigma
and discrimination to the practice of SOCE. SOCE is simply ipso facto presumed to constitute a
form of stigma and discrimination. This is in keeping with the persistently unfavorable manner
in which SOCE is portrayed by the mental health associations. SOCE practitioners and
consumers are associated with poor practices as a matter of course (Jones, et al, 2010; APA,
2009, 2012). This arguably is a form of stigma and discrimination toward practitioners of SOCE,
who ironically, have developed their own set of practice guidelines that, when followed, can be
expected to reduce the risk of harm to SOCE consumers (NARTH, 2010).

Spitzer’s Reassessment of His 2003 Study on SOCE

54. Finally, proponents of A3371 have understandably pointed out that Robert Spitzer, M.D..,
author of one of the primary studies conducted on SOCE (Spitzer, 2003), has recently changed
his assessment of the study and believes that it does not provide clear evidence of sexual
orientation change (Spitzer, 2012). It appears that he may have originally wished to retract the
2003 study, but the editor of the journal in which the study was published, Kenneth Zucker,
Ph.D., denied this request. Zucker has been quoted regarding his exchange with Spitzer as

observing:

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You can retract data incorrectly analyzed; to do that, you publish an erratum. You

can retract an article if the data were falsified—or the journal retracts it if the

editor knows of it. As I understand it, he’s [Spitzer] just saying ten years later

that he wants to retract his interpretation of the data. Well, we’d probably have to

retract hundreds of scientific papers with regard to interpretation, and we don’t do

that. (Dreger, 2012).
55. What Zucker is essentially saying is that there is nothing in the science of the study that
warrants retraction, so all that is left for one to change is his interpretation of the findings, which
is what Spitzer appears to have done. Spitzer’s change of interpretation hinges on his new belief
that reports of change in his research were not credible, an assertion made by others at the time
of the study. Instead, he now asserts that participant’s accounts of change may have involved
“self-deception or outright lying” (Spitzer, 2012).
56. It is curious that Spitzer’s (2012) apology seems to imply that he earlier claimed his
researched proved the efficacy of SOCE. As was understood at the time, the design of Spizter’s
study ensured his research would not definitively prove that SOCE can be effective. Certainly it
did not prove that all gays and lesbians can change their sexual orientation or that sexual
orientation is simply a choice. The fact that some people inappropriately drew such conclusions
appears to be a factor in Spitzer’s reassessment. Yet the fundamental interpretive question did
and still does boil down to one of plausibility: Given the study limitations, is it plausible that
some participants in SOCE reported actual change?
57, Since nothing has changed regarding scientific merit of the Spitzer’s study, the
interpretive choice one faces regarding the limitations of self-report in this study also remains.
Either all of the accounts across all of the measures of change across participant and spousal

reports are self-deceptions and/or deliberate fabrications, or they suggest it is possible that some

individuals actually do experience change in the dimensions of sexual orientation. Good people

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can disagree about which of these interpretive conclusions they favor, but assuredly it is not
unscientific or unreasonable to continue to believe the study supports the plausibility of change.
58. In fact, the reasonableness of this position has been bolstered recently by the willingness
of some of the participants in Spitzer’s research to speak up in defense of their experience of
change (Armelli, Moose, Paulk,& Phelan, 2013). They expressed clear disappointment in
Spitzer’s new claims:

Once thankful to Spitzer for articulating our experience and those of others, we

are now blindsided by his “reassessment,” without even conducting empirical

longitudinal follow-up. We know of other past participants who also feel

disappointed that they have been summarily dismissed. Many are afraid to speak

up due to the current political climate and potential costs to their careers and

families should they do so.
59. It seems clear, then, that unless one postulates initial and ongoing self-deception and
fabrication by participants to an incredulous degree, Spitzer’s study still has something to
contribute regarding the possibility of change in sexual orientation.

Concluding Statements

60. There should be no doubt that licensed mental health professionals who practice some
form of SOCE care deeply about the well-being of sexual minority youth and see SOCE as a
valid option for psychological care, while simultaneously affirming as well the client’s right to
pursue gay affirmative forms of psychotherapy. While it is not possible here to respond to all the
accusations that are typically leveled against SOCE, the information in this declaration should be
sufficient to question the scientific (not to mention constitutional) merits of A3371.
61. As we noted at the outset:

e The science as pertains to SOCE efficacy and harm is not nearly as conclusive and

definitive as proponents of A3371 portray it to be. Their one-sided presentation of the

science is a byproduct of a pervasive lack of viewpoint diversity within professional

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organizations and their constituent social scientists as pertains to sexual orientation
research.

e Professional activism and related advocacy interests have superceded allegiance to
the process of scientific discovery as pertains to SOCE, as is evident in the highly
discrepant methodological standards professional organizations have utilized to
evaluate efficacy and harm.

e An impressive body of scientific data indicates that non-heterosexual sexual
orientations should not be viewed as always immutable but are often though not
always subject to change, especially among youth.

e The role of stigma and discrimination on negative health outcomes among non-
heterosexual identities is real but provides only a small and partial understanding of
these concerns. Most importantly, applying this literature uncritically to SOCE is
scientifically and ethically dubious.

e The proper course of action for politicians and the courts to take given the current
limited scientific base of knowledge regarding SOCE should be to encourage further
and ideologically diverse research, not place a ban on its professional practice that
supercedes existing regulatory oversight and may create unintended consequences for
licensed therapists.

62. As demonstrated above, there is reasonable evidence to suggest that professional
associations such as the APA do not approach the SOCE literature in an objective manner
but rather with an eye to their advocacy interests. This is seen in the purposeful exclusion of
conservative and SOCE sympathetic psychologists from the APA task force as well as the clearly

uneven application of methodological standards in assessing evidence of SOCE efficacy and

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harm. As the task force noted, the prevalence of success and harm from SOCE cannot be
determined at present. Anecdotal accounts of harm, which are a focal point of attention by
supporters of A3371, cannot serve as a basis for the blanket prohibition of an entire form
of psychological care, however meaningful they may be on a personal level. While such
“hearsay” evidence is “not nothing,” it is negligent if not fraudulent that APA and other
professional organizations accept such unverified claims that experiences of SOCE were
“harmful” while dismissing much better documented claims that experiences of SOCE were
“beneficial,” and were not “harmful” (Phelan, Whitehead, & Sutton, 2009). Indeed, it is not
difficult to find counterbalancing anecdotal accounts of benefit from SOCE (see
http://www.voices-of-change.org/). Furthermore, accounts of harm cannot tell us if the
prevalence of reported harm from SOCE is any greater than that from psychotherapy in
general, where research demonstrates 5-10% of clients report deterioration while up to
50% experience no reliable change during treatment (Hansen, Lambert, & Forman, 2002;

Lambert & Ogles, 2004).

63. The normative occurrence of spontaneous change in sexual orientation among youth, the
nontrivial degree of choice reported by some in the development of sexual orientation, and the
questionable blanket application of the literature on stigma and discrimination to SOCE further
bring into question the appropriateness of A3371. Sexual orientation is not a stable and enduring
trait among youth, and this lends plausibility to the potential for professionally conducted SOCE
to assist in change in unwanted same-sex attraction and behaviors with some minors. Granted,
high quality research is needed to confirm this suspicion. However, it should be mentioned in
this regard that A3371 would make further research on SOCE with minors impossible in New

Jersey, despite the APA task force’s clear mandate that such research be conducted (APA, 2009).

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64. Any genuine harm that results from SOCE practice with minors can most appropriately
be remedied by the application of ethical principles of practice, including informed consent, and
addressed through the existing oversight functions of state regulatory boards and state mental
health associations. It is questionable and unlikely that the tangible, prosecutable harms from
SOCE are as widespread as A3371 sponsors claim. If such harms did exist, why have we
heretofore not seen SOCE practitioners losing their licenses and mental health association
memberships in droves? A3371 is a legislative overreach that takes an overly broad and absolute
approach to SOCE harm and success despite evidence suggesting age, gender, and non-
heterosexual sexual orientation differences in the experience and degree of change in sexual
orientation. In particular, it is fair to ask whether bisexual and mostly heterosexual youth are well
served by A3371, a distinction this law does not make.

65. Proponents of A3371 reason that because homosexuality is no longer considered to be a
disorder, providing professional SOCE to minors with unwanted same-sex attractions and
behaviors is at best unnecessary and at worst unethical. However, this reasoning betrays a
profound misrepresentation of the scope of psychotherapeutic practice, as there are numerous
examples of professionally sanctioned targets of treatment that are not considered to be disorders.
These include relationship distress, normal grief reactions, and unplanned pregnancy. Clients
often pursue psychological care for such difficulties due to deeply held religious and moral
beliefs (i.e., that divorce or abortion are wrong) and may experience significant emotional
distress in addressing these issues. In this context, the selective attention A3371 gives to SOCE
again hints at political advocacy rather than science as a primary inspiration for this law.

66. The religiously conservative faith community will not be well served if SOCE among

minors is judged never to be an appropriate modality for psychological care, especially when the

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affirmative interventions include the correction of the client’s “false assumptions.” Should the
court agree with this line of argument, then the court is unconstitutionally taking a stand on the
validity of certain forms of religious belief. By implying that there is always a better method
than any form of SOCE, backers of A3371 presume to know what form of psychological care for
unwanted same-sex attractions and behaviors is best for the religiously motivated minor clients
and their parents. Neither the courts nor the APA should be substituting their judgment for that
of a 17-year old who is calculating a cost-benefit analysis in deciding whether to undergo SOCE
despite the risks. The APA is quite clear that it supports the competence of a 17-year old girl to
give consent to an abortion. Why does the 17-year old lose competence when it comes to SOCE?
Similarly, the APA is on record as supporting the availability of sexual reassignment surgery for
adolescents (APA, 2008b) and A3371 explicitly protects this option. Is it reasonable that 17-year
olds who experience themselves to be the wrong biological sex be allowed to surgically alter
genitalia while others with unwanted same-sex attractions and behavior be prohibited from even
talking to a licensed therapist in a manner that could be construed as promoting the pursuit of
change? This question is especially relevant in light of recent high quality longitudinal research
that suggests sexual reassignment surgery does not remedy high rates of morbidity and mortality
among transgendered individuals (Dhejne, et al., 2011).

67. The task force Report (APA, 2009), and the mental health associations that
subsequently relied on it for their resolutions on SOCE, provide one viewpoint into
research and reasoning that likely has some merit but must be considered incomplete and
therefore not definitive enough to justify a complete ban on SOCE with minors. Currently,
there is a lack of sociopolitical diversity within mental health associations (Redding, 2001),

which has an inhibitory influence on the production of scholarship in controversial areas such as

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SOCE that might run counter to preferred worldviews and advocacy interests. An authentically
scientific approach to a contentious subject must proceed in a different direction in order to give
confidence that the relevant database is a sufficiently complete one on which to base public
policy. As Haidt (2012) observed, genuine diversity of perspective is absolutely necessary:

“In the same way, each individual reasoner is really good at one thing: finding

evidence to support the position he or she already holds, usually for intuitive

reasons...This is why it’s so important to have intellectual and ideological

diversity within any group or institution whose goal is to find truth (such as an

intelligence agency or a community of scientists) or to produce good public policy

(such as a legislature or advisor board)” (p. 90).
68. Such diversity is precisely what is lacking currently in professional mental health
organizations and their associated scientific communities as regards the study of contested social
issues related to sexual orientation, including SOCE (Wright & Cummings, 2005). If this were
not true, it would be hard to understand how the American Psychological Association’s
leadership body—the Council of Representatives—could vote 157-0 to support same-sex
marriage, a result that undoubted represents a “statistically impossible lack of diversity” (Jayson,
2011; Tierney, 2011).
69. To repeat a final time, a truly scientific response to the concerns of the sponsors of
A3371 would be to encourage bipartisan research into SOCE with minors that could provide
sound data to answer questions of harm and efficacy that currently are only primitively
understood. SOCE practitioners would assuredly embrace such an opportunity (Jones, et al.,
2010). Unfortunately, the approach taken by A3371 sponsors represented only one (political and
legislative) perspective on how to best address the challenges that come with the psychological
care of unwanted same-sex attractions and behaviors. It is therefore a scientifically premature,

and therefore unjust, curtailment of the rights of current and potential SOCE consumers, their

parents, and their therapists and should not be allowed to stand.

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I declare under penalty of perjury of the laws of the United States and New Jersey that
the foregoing statements are true and accurate.

Executed this. 21st _ of August, 2013.

‘ KeU AN

istophet Rosik, Ph.D. |

Declaration of Dr. Christopher Rosik - 34
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I. Education.
B.A. University of Oregon (Honors college), Eugene, Oregon, 1980 (psychology).
M.A. Fuller Theological Seminary, Pasadena, California, 1984 (theological studies).
Ph.D. Fuller Graduate School of Psychology, Pasadena, California, 1986 (clinical psychology - APA
approved program).

Il. Honors.

Phi Beta Kappa, Alpha of Oregon, 1980,

III. Professional Experiences.

9/85 - 8/ 86 Clinical psychology intern, Camarillo State Hospital, Camarillo, California (APA
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11/86 - 5/88 Postdoctoral intern, Link Care Center, Fresno, California.

5/88 - Present —_ Licensed clinical psychologist, Link Care Center, Fresno, California.

11/94 - 6/96 Assistant Clinical Director, Link Care Center, Fresno, California.

7/96 - 12/99 Clinical Director, Link Care Center, Fresno, California.

1/01—Present Clinical Faculty, Fresno Pacific University

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V. Professional Affiliations.

1/84 - Present | Member, American Psychological Association,
1/92 - Present | Member, International Society for the Study of Dissociation.

IV. Selected Publications.

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